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                  THE BUZBEE LAW FIRM
                             www.txattorneys.com
                                                                      December 10, 2024



VIA ECF
Email and U.S. Mail
Torres_NYSDChambers@NYSD.USCOURTS.COV

Honorable Analisa Torres
United States District Court for the
Southern District of New York
500 Pearl Street
New York, NY 10007-1312


       Re: Recent “Letter Briefs” filed in Jane Doe v. Shawn Carter et al., 24-cv-07975-AT

Dear Judge Torres:

       I write on behalf of my client Jane Doe, as well as on the behalf of myself and my firm, in
response to several recent improper communications directed to the Court by counsel for defendant
Shawn Carter in the above-captioned action.

        On December 8, 2024, my client filed an amended complaint naming Mr. Carter as an
additional defendant in this matter. In conjunction with that filing, my firm filed a renewed motion
for the plaintiff to proceed anonymously. Rather than merely oppose that motion, as would be
expected and proper, defendant Carter filed (the very next day) his own “motion” to deny
anonymity and/or to dismiss under Rule 12(b)(1).

         It appears defendant Carter made that separate filing, which we believe to be procedurally
improper and substantively deficient, to serve as the pretext for defense counsel to submit two
“letter briefs” to the Court on December 9 and 10. These “letter briefs” are, frankly, nothing short
of defamation hiding behind the thinnest veneer of litigation privilege.

       Except for one sentence requesting an expedited hearing, the “letter briefs” have absolutely
nothing to do with the only pending issue before the Court – namely, whether my client should be
allowed to continue to proceed anonymously. The letters’ otherwise irrelevant contentions that
the amended complaint’s allegations are “inflammatory” and “frivolous,” as against counsel’s plea
that “Mr. Carter is entirely innocent,” are merely press releases dressed as legal filings.
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       Counsel’s December 10, 2024 letter goes much further – and entirely too far – by accusing
my firm and I of outright unethical behavior that never happened and which I would never
countenance. To be clear, my firm and I categorically deny all of the baseless allegations levied
by Mr. Carter and his counsel in these letters. We will respond in due course and due time, through
memoranda of law and other appropriate means, to the legal issues at hand as well as the
accusations raised by Mr. Carter and his counsel. We also will address verifiable improprieties
committed by defense counsel, outright illegal conduct for which we have actual evidence rather
than vague hearsay declarations. For the moment, we simply want to timely inform the Court that
such responses will be forthcoming.


                                                          Respectfully,
                                                     /s/ Anthony G. Buzbee
                                                      Anthony G. Buzbee
